Case 5:19-cv-01161-GJS Document 26 Filed 09/18/20 Page 1 of 1 Page ID #:974



 1
 2
 3
 4
 5
 6
 7
 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 9
10   BOYD PAUL,                               )   Case No.: 5:19-cv-01161 GJS
                                              )
11                Plaintiff,                  )   [PROPOSED] ORDER AWARDING
                                              )   EQUAL ACCESS TO JUSTICE ACT
12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
13   ANDREW SAUL,                             )   AND COSTS PURSUANT TO 28
     Commissioner of Social Security,         )   U.S.C. § 1920
14                                            )
                  Defendant                   )
15                                            )
                                              )
16
17         Based upon the parties’ Stipulation for the Award and Payment of Equal
18   Access to Justice Act Fees, Costs, and Expenses:
19         IT IS ORDERED that fees and expenses in the amount of $3,700.00 as
20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
21   awarded subject to the terms of the Stipulation.
22   DATED: September 18, 2020
23                                          ___________________________________
                                            GAIL J. STANDISH
24                                          UNITED STATES MAGISTRATE JUDGE
25
26

                                              -1-
